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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )                    4:08CR3178
                                         )
            V.                           )
                                         )
LATRAIL L. TAYLOR,                       )                      ORDER
                                         )
                   Defendant.            )
                                         )


      IT IS ORDERED that the defendant’s motion to appoint counsel (filing 263) is
denied.

      DATED this 2 nd day of October, 2012.

                                        BY THE COURT:

                                        Richard G. Kopf
                                        Senior United States District Judge
